Case 2:04-cr-00280-MCA         Document 618        Filed 06/12/09     Page 1 of 1 PageID: 4674




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

_______________________________________
                                       :
UNITED STATES OF AMERICA,              :
                                       :             Criminal No. 04-280 (FSH)
            v.                         :
                                       :
ISHMAEL PRAY.                          :             ORDER
                                       :
                  Defendant.           :
_______________________________________:


       This matter having come before the Court by letter dated April 12, 2009 by Defendant,

Ishmael Pray, requesting the entry of an Order to defer the payments of the fine imposed on January

29, 2007 until after the commencement of his term of Supervised Release; and the Government

having submitted a letter dated June 8, 2009 stating no opposition; and the Court having considered

the arguments and for good cause shown;

       IT IS on this 11th day of June, 2009,

       ORDERED that the Defendant’s request to defer the payments of the fine imposed on

January 29, 2007 is hereby GRANTED; it is further

       ORDERED that the Defendant shall continue to make payments immediately upon the

commencement of his term of Supervised Release.




                                                       /s/ Faith S. Hochberg
                                                     United States District Judge
